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                       IN THE UNITED ST ATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

AUDREY DICK,                                     §
PLAINTIFF                                        §
                                                 §
v.                                               §
                                                 §
COLORADO HOUSING ENTERPRISES,                    §      CIVIL ACTION NO. 3:17-CV-0533-C
LLC, ET AL.,                                     §
DEFENDANTS.                                      §




 ORDER DENYING PLAINTIFF'S EMERGENCY MOTION TO SET SUPERSEDEAS
                              BOND

        After considering the Emergency Motion to Set Supersedeas Bond filed by Plaintiff

Audrey Dick on June 14, 2018, and the Response filed by Defendants, the Court DENIES the

Emergency Motion to Set a Supersedeas Bond for the reasons argued in Defendants' Response.

     SOORDE~l
     Dated this;zt day of June, 2018.




ORDER DENYING MOTION TO SET SUPERSEDEAS BOND                                            PAGE 1
